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                                                                           USDC SDNY
UNITED STATES DISTRICT COURT                                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                              ELECTRONICALLY FILED
                                                                           DOC #:
 CHRISTOPHER M GOULD,                                                      DATE FILED: 10/19/2020
                             Plaintiff,

                     -against-                                   1:20-cv-06141-MKV-KNF

 COMMISSIONER OF THE SOCIAL                                                ORDER
 SECURITY ADMINISTRATION,

                             Defendant.

MARY KAY VYSKOCIL, United States District Judge:

         In a separate Order [ECF #6], this case has been referred to one of the Court’s Magistrate

Judges, Judge Kevin N. Fox, for a Report and Recommendation, which will then be sent to this

Court for review and to address any objections to the Report. Alternatively, the parties may

voluntarily consent to have the Magistrate Judge render a final decision in this action in

accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73. Any appeal from a

Magistrate Judge’s decision following consent is directly to the United States Court of Appeals

for the Second Circuit in the same way that an appeal from a District Judge’s decision would be

taken.

         Both parties – the Plaintiff and the Commissioner of Social Security – must consent in

order for the Magistrate Judge to decide the case. To determine whether the parties wish to

voluntarily consent to proceeding before Judge Fox, counsel for the Commissioner of Social

Security is directed to send to counsel for Plaintiff on or before October 26, 2020, a copy of the

attached consent form bearing either (1) a signature indicating consent to proceeding before the

Magistrate Judge, or (2) a notation that the defendant does not consent.

         On or before November 2, 2020, Plaintiff’s counsel is directed to submit a letter via ECF

informing the Court whether all parties have consented to proceeding before the Magistrate
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Judge. If any party has not consented, the letter shall not state which of the parties have not

consented – only that there has not been consent by all parties. If both parties have consented,

counsel shall file on ECF the signed consent forms.

       This Order is not intended to interfere with the parties’ right to have final disposition of

this case by a United States District Judge. The parties are free to withhold their consent without

adverse substantive consequences. If any party withholds consent, the identity of the parties

consenting or withholding consent shall not be communicated to any Magistrate Judge or District

Judge to whom the case has been assigned.



SO ORDERED.
                                                      _________________________________
Date: October 19, 2020                                MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge




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AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________

                                                                               )
                                 Plaintiff                                     )
                                    v.                                         )      Civil Action No.
                                                                               )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties or attorneys                  Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                              Reset
